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     Attorneys for Defendant Chubb National
 8   Insurance Company

 9                             IN THE UNITED STATES DISTRICT COURT
10                                 FOR THE DISTRICT OF ARIZONA
11    Douglas Altschuler,                                 NO. CV-21-00119-TUC-DCB
12                            Plaintiff,                  NOTICE OF SERVICE OF FIFTH
                                                          SUPPLEMENTAL DISCLOSURE
13    vs.
14    Chubb National Insurance Company, an                (Assigned to the Honorable
      Indiana corporation,                                 David C. Bury)
15
16                            Defendant.
17           NOTICE IS HEREBY GIVEN Defendant Chubb National Insurance Company served
18   upon Plaintiff by e-mail on May 13, 2022, a copy of the following:
19           1.       Defendant Chubb National Insurance Company’s Fifth Supplemental
20   Disclosure Statement.
21   //
22   //
23   //
24   //
25   //
26   //
      Case 4:21-cv-00119-DCB Document 61 Filed 05/13/22 Page 2 of 3




 1   RESPECTFULLY SUBMITTED this 13th day of May, 2022.
 2                               BROENING OBERG WOODS & WILSON, P.C.
 3
                                 By: /s/ Jonathan Y. Yu
 4                                  Robert T. Sullivan
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 1                                    CERTIFICATE OF SERVICE
 2         I hereby certify that on this May 13, 2022, I electronically transmitted the foregoing
 3 with the Clerk of the Court using the CM/ECF system for filing, with copies submitted
 4 electronically to the following recipients:
 5
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11   By /s/ Nicole J. Smith
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